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                                   Certificate of Service

        I hereby certify that on August 9, 2016, I filed the foregoing document witht
the Clerk of the Court via CM/ECF system and that it will be served upon all parties,
listed further below, via CM/ECF.

                                                                /s/Robert J. Bonsignore




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                                U.S. District Court
                    California Northern District (San Francisco)
                 CIVIL DOCKET FOR CASE #: 3:07-cv-05944-JST


MDL No. 1917 In Re: Cathode Ray Tube (CRT) Antitrust      Date Filed: 11/26/2007
Litigation                                                Jury Demand: Plaintiff
Assigned to: Hon. Jon S. Tigar                            Nature of Suit: 410 Anti-Trust
Relate Case Case: 3:12-mc-80151-JST                       Jurisdiction: Federal Question
Case in other court: 13-80210
                    14-16817
Cause: 15:1 Antitrust Litigation

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Plaintiff
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                                             Lauren Clare Capurro
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  Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 16 of 135




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  Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 17 of 135




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John Larch                      represented by Joel Flom
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  Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 18 of 135




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Plaintiff
Gary Hanson                             represented by Joel Flom
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themselves and all others similarly                    ATTORNEY TO BE NOTICED
situated
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Plaintiff
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                                              Tracy R. Kirkman
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Plaintiff
Brigid Terry                                represented by Jean B. Roth
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Plaintiff
Southern Office Supply, Inc          represented by Gilmur Roderick Murray
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Plaintiff
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Plaintiff
Meijer Distribution, Inc.                represented by Gregory K Arenson ,
on behalf of themselves and all others                  (See above for address)
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Plaintiff
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Plaintiff
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Plaintiff
Target Corp.                    represented by Jason C. Murray
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Plaintiff
Giovanni Constabile                      represented by Lingel Hart Winters
On behalf of themselves and all others                  (See above for address)
similarly situated                                      LEAD ATTORNEY
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Plaintiff
Gio's Inc                                represented by Lingel Hart Winters
a California corporation                                (See above for address)
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Plaintiff
Schultze Agency Services, LLC            represented by William A. Isaacson
on behalf of Tweeter Opco, LLC and                      (See above for address)
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                                             Michael John Newton
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Plaintiff
Magnolia Hi-Fi, LLC             represented by David Martinez
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                                             Samuel J Randall
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Plaintiff
Christopher Donnelly

Plaintiff
Christopher Wirth

Plaintiff
Jimmy Jahar Thule

Plaintiff
Edward Breivik

Plaintiff
Ramzi Yusef

Plaintiff
Richard Reid

Plaintiff
JEFF CRAIG                      represented by JEFF CRAIG
                                               PRO SE

Plaintiff
MINA ASHKANNEJHAD               represented by MINA ASHKANNEJHAD
                                               PRO SE
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Plaintiff
ESTATE OF LATE R. DERYL          represented by ESTATE OF LATE R. DERYL
EDWARDS JR                                      EDWARDS JR
                                                PRO SE

Plaintiff
INDIRECT PURCHASER               represented by INDIRECT PURCHASER PLAINTIFF
PLAINTIFF CLASS                                 CLASS
                                                PRO SE

Plaintiff
Eleanor Lewis                    represented by Eleanor Lewis
                                                PRO SE


V.
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                                                   John M. Taladay
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                                                   Jon Vensel Swenson
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Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 94 of 135




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                                        Michael W. Scarborough
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                                        Michelle Park Chiu
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                                        Sharon D. Mayo
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 Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 95 of 135




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                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Erik T. Koons
                                                 Baker Botts LLP
                                                 ATTORNEY TO BE NOTICED

Defendant
Samsung Electronics Co Ltd          represented by Ian T Simmons
("SEC") is a South Korean company                  (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                 Michael Frederick Tubach
                                                 O'Melveny & Myers LLP
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                                                 28th Floor
                                                 San Francisco, CA 94111-3305
                                                 415-984-8700
                                                 Fax: 415-984-8701
                                                 Email: mtubach@omm.com
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                                                 Email: droberts2@omm.com
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                                                 Jeffrey L. Kessler
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                                                 ATTORNEY TO BE NOTICED
 Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 96 of 135




                                                  Kent Michael Roger
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                                                  Anton Metlitsky
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                                                  David Roberts
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                                                  ATTORNEY TO BE NOTICED

Defendant
Samsung Electronics America, Inc.    represented by Ian T Simmons
("SEAI") is a New York corporation                  (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                  Michael Frederick Tubach
                                                  (See above for address)
                                                  LEAD ATTORNEY
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                                                  Courtney C Byrd
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                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Jeffrey L. Kessler
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                                                       ATTORNEY TO BE NOTICED

                                                       Kent Michael Roger
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Kevin Douglas Feder
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                                                       ATTORNEY TO BE NOTICED

                                                       Michael W. Scarborough
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Anton Metlitsky
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                                                       ATTORNEY TO BE NOTICED

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                                                       Haidee L. Schwartz ,
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       James Landon McGinnis
                                                       Sheppard Mullin Richter & Hampton LLP
                                                       ATTORNEY TO BE NOTICED

Defendant
MT Picture Display Co., LTD               represented by A. Paul Victor
fka Matsushita Toshiba Picture Display                   (See above for address)
Co., Ltd. ("MTPD") is a Japanese entity                  ATTORNEY TO BE NOTICED

                                                       Aldo A. Badini
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Bambo Obaro
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Christopher M. Curran
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       David E. Yolkut
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                                        ATTORNEY TO BE NOTICED

                                        John Clayton Everett , Jr.
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                                        PRO HAC VICE
                                        ATTORNEY TO BE NOTICED

                                        John M. Taladay
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                                        ATTORNEY TO BE NOTICED

                                        Jon Vensel Swenson
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                                        ATTORNEY TO BE NOTICED

                                        Kajetan Rozga
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                                        PRO HAC VICE
Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 99 of 135




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                                        Molly Donovan
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                                        Sofia Arguello ,
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                                        Steven A. Reiss
                                        (See above for address)
                                        ATTORNEY TO BE NOTICED

                                        Steven Alan Reiss
                                        (See above for address)
                                        ATTORNEY TO BE NOTICED

                                        Adam C. Hemlock
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                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       David L. Yohai
                                                       Weil, Gotshal, & Manges, LLP`
                                                       ATTORNEY TO BE NOTICED

Defendant
Victor Company of Japan, LTD

Defendant
TCL International Holdings LTD.
(TCL)

Defendant
LP Displays International Ltd.
("LP Displays") is a Hong Kong
company
formerly known as
LG. Philips Displays

Defendant
Panasonic Corporation                     represented by David L. Yohai
fka Matsushita Electric Industrial Co.,                  (See above for address)
Ltd. ("MEI"), is a Japanese entity                       LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       A. Paul Victor
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Aldo A. Badini
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Amy Lee Stewart
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Bambo Obaro
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Christopher M. Curran
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                                                       ATTORNEY TO BE NOTICED

                                                       David E. Yolkut
                                                       (See above for address)
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                                                       ATTORNEY TO BE NOTICED
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                                         Diana Arlen Aguilar
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                                         Douglas L Wald
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                                         Eva W. Cole
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                                         ATTORNEY TO BE NOTICED

                                         James F. Lerner
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                                         Jeffrey L. Kessler
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                                         Jennifer Stewart
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                                         John Clayton Everett , Jr.
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                                         Kajetan Rozga
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                                         Kevin B. Goldstein
Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 102 of 135




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                                         Sharon D. Mayo
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                                         ATTORNEY TO BE NOTICED

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 Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 103 of 135




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                                                  Steven Alan Reiss
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                                                  ATTORNEY TO BE NOTICED

                                                  Adam C. Hemlock
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Hitachi Displays, Ltd.               represented by Eliot A. Adelson
("Hitachi Displays") is a Japanese                  (See above for address)
company                                             LEAD ATTORNEY
also known as                                       ATTORNEY TO BE NOTICED
Japan Display Inc
                                                  Christopher M. Curran
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Douglas L Wald
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Ian T Simmons
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James Mutchnik
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Jeffrey L. Kessler
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  John M. Taladay
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Jon Vensel Swenson
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Katherine Hamilton Wheaton
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED
 Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 104 of 135




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                                                   ATTORNEY TO BE NOTICED

                                                   Steven Alan Reiss
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
Hitachi Electronic Devices (USA)      represented by Eliot A. Adelson
("HEDUS") is a Delaware corporation                  (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                   James Mutchnik
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Jeffrey L. Kessler
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Katherine Hamilton Wheaton
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
Shenzhen SEG Color Display Devices,
Ltd
("Hitachi Shenzhen") is a Chinese
company

Defendant
Irico Group Electronics Co., Ltd.
("IGE") is a Chinese entity

Defendant
Philips da Amazonia Industria         represented by Ethan E. Litwin
Electronica Ltda.                                    (See above for address)
("Philips Brazil") is a Brazilian                    ATTORNEY TO BE NOTICED
company
                                                   Jeffrey L. Kessler
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Jon Vensel Swenson
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
Panasonic Consumer Electronics
 Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 105 of 135




Company
("Panasonic Consumer Electronics") is
a Delaware corporation

Defendant
Hitachi Electronic Devices (USA), Inc.   represented by Adam C. Hemlock
("HEDUS") is a Delaware corporation                     (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                      Barack Shem Echols
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Christopher M. Curran
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Douglas L Wald
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                                                      ATTORNEY TO BE NOTICED

                                                      Eliot A. Adelson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      James Mutchnik
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jeffrey L. Kessler
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      John M. Taladay
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jon Vensel Swenson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Katherine Hamilton Wheaton
                                                      (See above for address)
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                                                      Sharon D. Mayo
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                                                      ATTORNEY TO BE NOTICED

                                                      Steven Alan Reiss
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED
 Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 106 of 135




Defendant
Tatung Company
is a Taiwanese corporation

Defendant
Samtel Color Ltd.

Defendant
Beijing Matsushita Color Crt   represented by Adam C. Hemlock
Company, LTD.                                 (See above for address)
                                              ATTORNEY TO BE NOTICED

                                            Richard Sutton Snyder
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

Defendant
Hitachi America, Ltd           represented by Eliot A. Adelson
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                            Adam C. Hemlock
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Barack Shem Echols
                                            (See above for address)
                                            PRO HAC VICE
                                            ATTORNEY TO BE NOTICED

                                            Ian T Simmons
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            James Mutchnik
                                            (See above for address)
                                            PRO HAC VICE
                                            ATTORNEY TO BE NOTICED

                                            Katherine Hamilton Wheaton
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

Defendant
Hitachi Asia, Ltd.             represented by Eliot A. Adelson
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                            Adam C. Hemlock
                                            (See above for address)
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                                            Douglas L Wald
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                                            ATTORNEY TO BE NOTICED

                                            Ian T Simmons
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Jeffrey L. Kessler
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            John M. Taladay
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Jon Vensel Swenson
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Sharon D. Mayo
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Steven Alan Reiss
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

Defendant
Hitachi Displays, Ltd.         represented by Eliot A. Adelson
also known as                                 (See above for address)
Japan Display Inc                             LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                            Adam C. Hemlock
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Barack Shem Echols
                                            (See above for address)
                                            PRO HAC VICE
                                            ATTORNEY TO BE NOTICED

                                            Christopher M. Curran
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

                                            Douglas L Wald
 Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 108 of 135




                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Ian T Simmons
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                James Mutchnik
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Jeffrey L. Kessler
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                John M. Taladay
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Jon Vensel Swenson
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Katherine Hamilton Wheaton
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Michael W. Scarborough
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Sharon D. Mayo
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Steven Alan Reiss
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Hitachi Electronic Devices (USA)   represented by Eliot A. Adelson
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                Ian T Simmons
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                James Mutchnik
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                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED
 Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 109 of 135




                                              Jeffrey L. Kessler
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                                              ATTORNEY TO BE NOTICED

                                              Katherine Hamilton Wheaton
                                              (See above for address)
                                              PRO HAC VICE
                                              ATTORNEY TO BE NOTICED

                                              Michael W. Scarborough
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

Defendant
Hitachi Ltd.                   represented by Eliot A. Adelson
                                              (See above for address)
                                              LEAD ATTORNEY

                                              Adam C. Hemlock
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Barack Shem Echols
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                                              ATTORNEY TO BE NOTICED

                                              Christopher M. Curran
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Douglas L Wald
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Ian T Simmons
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              James Mutchnik
                                              (See above for address)
                                              PRO HAC VICE
                                              ATTORNEY TO BE NOTICED

                                              Jeffrey L. Kessler
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              John M. Taladay
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Jon Vensel Swenson
                                              (See above for address)
 Case 4:07-cv-05944-JST Document 4752-3 Filed 08/09/16 Page 110 of 135




                                                 ATTORNEY TO BE NOTICED

                                                 Katherine Hamilton Wheaton
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Sharon D. Mayo
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Steven Alan Reiss
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
Irico Display Devices Co., Ltd.

Defendant
Irico Group Corporation

Defendant
Irico Group Electronics Co., Ltd.

Defendant
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Defendant
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Defendant
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Defendant
Philips Electronics Industries      represented by Jon Vensel Swenson
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Defendant
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Defendant
Philips da Amazonia Industria       represented by Jon Vensel Swenson
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Defendant
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Defendant
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Defendant
Meridian Solar & Display Co., Ltd.

Defendant
PT.MT Picture Display Indonesia      represented by PT.MT Picture Display Indonesia
                                                    PRO SE
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Defendant
Videocon Industries, Ltd.

Defendant
Technologies Displays Mexicana, S.A.
de C.V.

Defendant
Philips Consumer Electronics Co.

Defendant
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Defendant
Chunghwa Picture Tubes (Malaysia)

Defendant
Mitsubishi Electric Visual Solutions   represented by Terrence Joseph Truax
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Defendant
LG.Philips Display Holding B.V.

Defendant
LG.Philips Displays International
B.V.

Defendant
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Defendant
Eleanor Lewis


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Respondent
Alan Frankel                        represented by Alan Frankel
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and related entities                                     William A. Isaacson
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